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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION

                                                       CASE NO.:
TIM ROWANS,

         Plaintiff,

v.

MAYO CLINIC,

        Defendant.
___________________________________________________/

                                            COMPLAINT

         Plaintiff Tim Rowans sues Defendant Mayo Clinic and states as follows:

         1.      This is an action for damages in excess of $15,000.

         2.      Plaintiff Tim Rowans (“Rowans”) is a resident of Jacksonville, Duval County,

Florida.

         3.      Defendant Mayo Clinic is a foreign corporation that is authorized to conduct

and was at all times material hereto was conducting business in Jacksonville, Duval County,

Florida.

         4.      At all times material hereto, Mayo Clinic was a “covered employer” under the

Family Medical Leave Act (“FMLA”) in that Mayo Clinic is one engaged in commerce or in an

industry affecting commerce who employees 50 or more employees for each working day

during each of 20 or more calendar workweeks in the current or preceding calendar year.

         5.      At all times material hereto, Rowans was entitled to leave under the FMLA.

         6.      Venue and jurisdiction are proper because the events forming the basis of this

Complaint occurred in Jacksonville, Duval County, Florida.


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                                        GENERAL ALLEGATIONS

        7.     Rowans began working for Mayo Clinic as a photographer in December of

2015.

        8.     At all times material hereto, Rowans suffered from “serious health conditions”

as defined by the FMLA and was an “eligible employee,” within the meaning of the FMLA.

        9.     During his first year of employment, Rowans received exceptional

performance reviews.

        10.    In late 2016, Rowans began experiencing symptoms commonly associated

with depression and began attending therapy sessions through Mayo Clinic’s Employee

Assistance Program.

        11.    As his symptoms continued to progress, Rowans sought treatment with his

primary care physician at Mayo Clinic, Dr. Sara Filmalter.

        12.    Dr. Filmalter began prescribing Rowans anti-depressant medication.

        13.    During this time, Rowans’ condition was made known to his supervisors at

Mayo Clinic.

        14.    Rowans continued to treat with various providers at Mayo Clinic.

        15.    In January of 2018, Dr. Filmalter referred Rowans to psychiatrist Shehzad

Niazi, for evaluation of his worsening depression symptoms.

        16.    Dr. Niazi adjusted Rowans’ medications and recommended a treatment plan

of follow up psychiatric evaluations.

        17.    On February 13, 2018, Rowans was admitted to River Point Behavioral Health

due to suicidal thoughts.




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       18.    Rowans’ wife, Lauren, notified his supervisors about his condition and the

resulting in-patient admission.

       19.    Rowans remained at River Point Behavioral Health for six days.

       20.    Following his discharge, Rowans applied for and was approved for six weeks

of continuous leave under the Family Medical Leave Act (“FMLA”), with intermittent leave

backdated to the date he first saw Dr. Filmalter in November of 2017 for treatment of

depression.

       21.    In March of 2018, Rowans was admitted to Wekiva Springs’ Intensive

Outpatient Program for one week for evaluation.

       22.    At the conclusion of his week in the outpatient program, Rowans was admitted

as an inpatient at Wekiva Springs for four days.

       23.    Rowans’ condition continued to rapidly decline although his treating

physicians at Mayo Clinic continued to state that Rowans’ symptoms and conditions were

caused by depression or the medications he had been prescribed for depression.

       24.    Rowans’ FMLA leave was extended for an additional six weeks, through the

first week of May 2018.

       25.    On March 23, 2018, while on FMLA leave, Rowans was called to a meeting with

his supervisor Dan Hubert and a representative from Human Resources.

       26.    At this meeting, Rowans was given an ultimatum to either resign or be

terminated from his employment with Mayo Clinic.

       27.    Rowans’ requests to have his wife, Lauren, who was also an employee of Mayo

Clinic, attend this meeting were denied.




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       28.     Lauren Rowans had previously requested permission to attend another

meeting between Rowans and his supervisors earlier in the same week and communicated

that the need for her to attend this meeting arose from his inability to think clearly and make

rational decisions.

       29.     Notwithstanding prior notice by Mayo Clinic that Rowans was not competent

to make significant decisions, including those related to his continued employment with

Mayo Clinic on his own, Mayo Clinic denied Rowans the opportunity to have a third-party

present during the meeting in which he was forced to choose between resignation or

termination.

       30.     With no opportunity to consult with his wife or anyone else or to take any

period of time to consider the gravity and effect of his decision, Rowans was coerced and

pressured into resigning immediately.

       31.     Following his separation of employment from Mayo Clinic, Rowans continued

to receive treatment from Mayo Clinic.

       32.     At the request of the Rowans, Mr. Rowans ultimately underwent a MRI of the

brain which revealed frontal temporal lobe atrophy.

       33.     Based on the results of the MRI and the symptoms Rowans had been exhibiting

for months, if not years, Rowans was diagnosed with behavioral variant frontotemporal

dementia (“bvFTD”), a serious health condition.

                                          COUNT I
                                   (FMLA Interference)
                                  (29 U.S.C. § 2615(a)(1))

       34.     Rowans adopts and realleges the allegations of Paragraphs 1 through 33 as if

fully set forth herein.


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       35.      Rowans was eligible and in fact had previously received so as to be entitled to

FMLA leave for six weeks in the 2018 calendar year for his serious health conditions.

       36.      Defendant Mayo Clinic extended Rowans’ FMLA leave through the first week

of May of 2018.

       37.      Defendant Mayo Clinic, its agents and employees, violated Rowans’ rights

under the FMLA and specifically 29 U.S.C. § 2615(a)(1), by coercing, intimidating,

threatening and interfering with Rowans’ exercise of his FMLA rights by constructively

terminating Rowans and/or requiring him to resign from his position while in the midst of

taking approved medical leave.

       38.      In doing so, Defendant Mayo Clinic acted willfully, intentionally and with

reckless disregard to Rowans’ right to exercise his rights under the FMLA.

       39.      As a direct and proximate result of said intentional discriminatory acts and

practices of Defendant Mayo Clinic, its agents and employees, Rowans suffered and

continues to suffer injury, including loss of employment, past and future loss of income and

other employment benefits, including health care and retirement benefits, as well as severe

distress, humiliation, great expense, embarrassment, damage to his reputation, pain and

suffering, mental anguish and the loss of enjoyment of life, costs associated with obtaining

reemployment, and other past and future pecuniary losses.

       WHEREFORE, Plaintiff Tim Rowans prays for judgment against Defendant as follows:

       a. Statutory damages for lost wages, benefits, and other compensation, plus interest

             thereon at the statutory rate, pursuant to 29 U.S.C. § 2617(a)(1)(A)(i) and 29

             U.S.C. § 2617(a)(1)(A)(ii).




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       b. Additional liquidated damages in the amount of the above-requested award,

             pursuant to 29 U.S.C. § 2617(a)(1)(A)(iii).

       c. Equitable relief in the form of reinstatement or front pay, as the court deems

             appropriate pursuant to 29 U.S.C. § 2617(a)(1)(B).

       d. Attorneys’ fees, expert witness fees, and cost of this action, pursuant to 29 U.S.C. §

             2617(a)(3), and such other relief as this Court may deem just and proper.

                                           COUNT II
                                      (FMLA Retaliation)
                                    (29 U.S.C. § 2615(a)(2))

       40.      Rowans adopts and realleges the allegations of Paragraphs 1 through 33 as if

fully set forth herein.

       41.      Rowans was eligible and in fact had previously received so as to be entitled to

FMLA leave for six weeks in the 2018 calendar year for his serious health conditions.

       42.      Defendant Mayo Clinic extended Rowans’ FMLA leave through the first week

of May of 2018.

       43.      Rowans exercised his FMLA rights during his employment with Defendant

Mayo Clinic in connection with his serious health conditions.

       44.      Defendant Mayo Clinic, its agents and employees, violated Rowans’ rights

under the FMLA and specifically 29 U.S.C. § 2615(a)(2), by coercing, intimidating,

threatening and interfering with Rowans’ exercise of his FMLA rights by constructively

terminating Rowans and/or requiring him to resign from his position while in the midst of

taking approved medical leave.




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       45.      In doing so, Defendant Mayo Clinic acted willfully, intentionally and with

reckless disregard to Rowans’ right to be free from retaliation for exercising his rights under

the FMLA.

       46.      As a direct and proximate result of said intentional discriminatory acts and

practices of Defendant Mayo Clinic, its agents and employees, Rowans suffered and

continues to suffer injury, including loss of employment, past and future loss of income and

other employment benefits, including health care and retirement benefits, as well as severe

distress, humiliation, great expense, embarrassment, damage to his reputation, pain and

suffering, mental anguish and the loss of enjoyment of life, costs associated with obtaining

reemployment, and other past and future pecuniary losses.

       WHEREFORE, Plaintiff Tim Rowans prays for judgment against Defendant as follows:

       e. Statutory damages for lost wages, benefits, and other compensation, plus interest

             thereon at the statutory rate, pursuant to 29 U.S.C. § 2617(a)(1)(A)(i) and 29

             U.S.C. § 2617(a)(1)(A)(ii).

       f. Additional liquidated damages in the amount of the above-requested award,

             pursuant to 29 U.S.C. § 2617(a)(1)(A)(iii).

       g. Equitable relief in the form of reinstatement or front pay, as the court deems

             appropriate pursuant to 29 U.S.C. § 2617(a)(1)(B).

       h. Attorneys’ fees, expert witness fees, and cost of this action, pursuant to 29 U.S.C. §

             2617(a)(3), and such other relief as this Court may deem just and proper.

                                   DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all issues so triable.

                                           DOUGLAS & CARTER


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